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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER APPOINTING SPECIAL
                                                                         10   This Order Relates To:                  )   MASTER
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14
                                                                         15           The Court has suggested the appointment of U.S. Magistrate
                                                                         16   Judge (Ret.) James Larson as an additional Special Master for this
                                                                         17   case.    See Fed. R. Civ. P. 53(a)(1)(C), 53(b)(1).        The Court gave
                                                                         18   the parties an opportunity to be heard at a status conference on
                                                                         19   August 7, 2015, and again permitted parties to submit objections
                                                                         20   via an order to show cause.      See Order of the Court dated August
                                                                         21   17, 2015, ECF No. 3986 ("Show Cause Order").         Certain parties
                                                                         22   objected.    See ECF No. 4021.    Accordingly, the Court ordered a
                                                                         23   second hearing to ensure parties had a full, fair opportunity to be
                                                                         24   fully heard on the matter, and broke with its normal tradition of
                                                                         25   not issuing any intended ruling to ensure parties could respond
                                                                         26   meaningfully to the Court's thoughts.        See Order of the Court dated
                                                                         27   August 31, 2015, ECF No. 4029 ("Hearing Order").           Pursuant to the
                                                                         28   Hearing Order, a hearing was held on September 11, 2015.
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                                                                          1        Nothing during the hearing substantially changed the opinion
                                                                          2   of the Court.   Therefore, the Court ADOPTS the reasoning set forth
                                                                          3   in its Hearing Order, finds that 28 U.S.C. §§ 455, 458 do not bar
                                                                          4   this appointment, and OVERRULES any objections to Judge Larson.
                                                                          5        The Court further finds that considerations of fairness, the
                                                                          6   prevention of undue delay, and the amount of judicial resources
                                                                          7   required to adjudicate the designated pretrial matters (including
                                                                          8   at least 86-91 complex pending motions which must all be decided
                                                                          9   within four months) constitute "exceptional circumstances" which
                                                                         10   justify a Special Master.     See Nat'l Ass'n of Radiation Survivors
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                                                                         11   v. Turnage, 115 F.R.D. 543, 560 (N.D. Cal. 1987).
                                                                         12        In reaching this decision, the Court is cognizant of the
                                                                         13   admonition in La Buy v. Howes Leather Co., 352 U.S. 249, 258-59
                                                                         14   (1957).   There, the Supreme Court admonished a District Court for
                                                                         15   appointing a Special Master on the eve of trial to assist in an
                                                                         16   antitrust case after years of litigation and where the Court had
                                                                         17   already itself decided most pretrial motions.         "The master, a
                                                                         18   member of the bar, was to hear and decide the entire case, subject
                                                                         19   to review by the District Judge under the 'clearly erroneous'
                                                                         20   test."    Mathews v. Weber, 423 U.S. 261, 274 (1976) (distinguishing
                                                                         21   La Buy without eroding it).      Here, conversely, the Court expressly
                                                                         22   retains control of the trial, reviews all matters by the Special
                                                                         23   Master de novo (as set forth in greater detail below), and in
                                                                         24   addition to simple congestion cites the need to complete an
                                                                         25   incredible volume of highly complex motion work to ensure a trial
                                                                         26   schedule that will be fair and equitable to all involved parties.
                                                                         27   Moreover, the Special Master is not an inexperienced attorney or
                                                                         28   random member of the bar chosen by the parties to increase their



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                                                                          1   own likelihood of success.     Rather, he is a retired U.S. Magistrate
                                                                          2   Judge chosen by the Court, with a history of being a third party
                                                                          3   neutral and making these very types of judicial recommendations.
                                                                          4   See United States v. State of Wash., 157 F.3d 630, 660 (9th Cir.
                                                                          5   1998) (Beezer, J., concurring) (discussing the need for complexity
                                                                          6   of the circumstances and neutrality of the Special Master).        Thus,
                                                                          7   this appointment "aid[s] [this] judge[] in the performance of
                                                                          8   specific judicial duties, as they may arise in the progress of a
                                                                          9   cause," La Buy, 352 U.S. 249, 256, and is substantially similar to
                                                                         10   appointing a Magistrate Judge, in accordance with Mathews, 423 U.S.
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                                                                         11   at 274-75.    Accordingly, appointment of a Special Master is proper.
                                                                         12        WHEREFORE, IT IS HEREBY ORDERED that, pursuant to Federal Rule
                                                                         13   of Civil Procedure 53, U.S. Magistrate Judge (Ret.) James Larson is
                                                                         14   appointed as Special Master to supervise and preside over the
                                                                         15   "designated pretrial matters" in this case, as defined herein.
                                                                         16        The Special Master has filed a declaration under 28 U.S.C. §
                                                                         17   455 stating that there is no ground for disqualification.
                                                                         18        1.      Scope of Duties
                                                                         19        The Special Master shall adjudicate all designated pretrial
                                                                         20   matters.   This specifically excludes discovery disputes in this
                                                                         21   case, and also excludes disputes arising during the course of
                                                                         22   depositions.    Such disputes have been previously assigned to Judge
                                                                         23   Walker (Ret.), whose appointment as a Special Master remains
                                                                         24   undisturbed by this separate appointment of a second, distinct
                                                                         25   Special Master.    Rather, designated pretrial matters shall include
                                                                         26   24-29 motions for summary judgment presently pending, 40 motions in
                                                                         27   limine presently pending, and (to the degree the Special Master can
                                                                         28   resolve or limit the issues connected to such motions) 4 Daubert



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                                                                          1   motions presently pending.     Designated pretrial matters also
                                                                          2   includes motions for cases that will be remanded to a different
                                                                          3   jurisdiction of origin which Judge Larson believes can be decided
                                                                          4   applying Ninth Circuit law without any significant risk of
                                                                          5   conflicting circuit law resulting in appellate issues.             The Court
                                                                          6   is presently cognizant of 18 such motions in cases subject to
                                                                          7   remand that parties have previously agreed can be decided under the
                                                                          8   law of the Ninth Circuit without causing any potential difficulties
                                                                          9   resulting from differing circuit laws at such time as the case is
                                                                         10   remanded to its judicial district of origin for trial.             See ECF No.
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                                                                         11   3952-1.   Finally, designated pretrial matters may, at the
                                                                         12   discretion of the Special Master or the Court, include any motion
                                                                         13   filed on or after August 7, 2015, which is deemed of a similar ilk
                                                                         14   to the other designated pretrial matters such that review by the
                                                                         15   Special Master is appropriate.
                                                                         16        This Order shall apply to all cases currently pending in MDL
                                                                         17   No. 1917 and to all related actions that have been or will be
                                                                         18   originally filed in, transferred to, or removed to this Court and
                                                                         19   assigned thereto (collectively, "the MDL proceedings").            This Order
                                                                         20   is binding on all parties and their counsel in all cases currently
                                                                         21   pending or subsequently made part of these proceedings and shall
                                                                         22   govern each case in the proceedings unless it explicitly states
                                                                         23   that it relates to specific cases.
                                                                         24        2.    Scope of Authority
                                                                         25        The Special Master shall have most of the authority (subject
                                                                         26   only to the limits set forth herein) provided in Federal Rule of
                                                                         27   Civil Procedure 53(c), including, but not limited to: the authority
                                                                         28   to set the date, time, and place for all hearings determined by the



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                                                                          1   Special Master to be necessary; to direct the issuance of
                                                                          2   subpoenas; to make rulings on objections or otherwise resolve
                                                                          3   disputes arising during the course of hearings held before him; to
                                                                          4   preside over hearings (whether telephonic or in-person); to take
                                                                          5   evidence in connection with the designated pretrial matters; to
                                                                          6   award fee allocations and non-contempt sanctions provided by
                                                                          7   Federal Rules of Civil Procedure 37 and 45 insofar as such rules
                                                                          8   are deemed to apply to the designated pretrial matters; and to
                                                                          9   recommend contempt sanctions.      The Special Master may determine
                                                                         10   disputes arising from failing to abide by sanctions set forth by
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                                                                         11   the Special Master.    The Court's initial review of designated
                                                                         12   pretrial matters suggests many of them may be appropriate for
                                                                         13   resolution without oral argument per Civil Local Rule 7-1(b).         The
                                                                         14   Special Master is therefore delegated authority to determine
                                                                         15   whether holding oral argument is required for any given matter or
                                                                         16   whether the Special Master can draft a Report and Recommendation
                                                                         17   ("R&R") based solely upon the briefs and evidence as submitted.
                                                                         18        3.    Procedures for Briefing Submitted to Special Master
                                                                         19        The Special Master may consider disputes presented orally,
                                                                         20   presented in person or by telephone, in a letter brief, or in
                                                                         21   formal motions, so long as the dispute is within the scope of his
                                                                         22   duties.   If additional briefing is deemed required, briefing
                                                                         23   schedules will be determined by the Special Master.          However, the
                                                                         24   Special Master may not disclose his resolution of such disputes,
                                                                         25   except as set forth below.
                                                                         26        4.    Preservation of Record
                                                                         27        Pursuant to Federal Rule of Civil Procedure 53(b)(2)(c), the
                                                                         28   Special Master shall maintain files consisting of all documents



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                                                                          1   submitted by the parties and any written orders, findings, and/or
                                                                          2   R&Rs.    Any order issued by the Special Master shall be emailed to
                                                                          3   the parties.    Such emailing shall fulfill the Special Master's duty
                                                                          4   to serve the order on the parties.       However, as orders must also be
                                                                          5   filed with the clerk and thus captured in the Electronic Court
                                                                          6   Filing ("ECF") system, orders shall not contain any resolution or
                                                                          7   proposed resolution of any dispute, nor shall they in any way
                                                                          8   indicate how any dispute may be resolved pursuant.          Such
                                                                          9   information shall be captured strictly in R&Rs.
                                                                         10           All of the Special Master's R&Rs are to be provided directly
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                                                                         11   and only to Chambers for in camera review, and the Special Master
                                                                         12   is not to share R&Rs with parties or otherwise allow their contents
                                                                         13   to be made known to any party.      See Fed. R. Civ. P. 53(e).     Once
                                                                         14   the Court has determined that settlements are finalized to a
                                                                         15   sufficient degree and the proper time has arrived to act on the
                                                                         16   R&Rs, the Court will publish through ECF the collected R&Rs to the
                                                                         17   parties for review, opportunity to be heard, and objections.        See
                                                                         18   Fed. R. Civ. P. 53(f)(1)-(2).      Nothing in this Order does or should
                                                                         19   be construed to grant the Special Master permission to make known
                                                                         20   any decision or through any means indicate the substance thereof to
                                                                         21   any party without express, case-by-case, pre-approval by the Court.
                                                                         22           Any records of the Special Master's activities other than
                                                                         23   written orders, findings, and/or recommendations shall be filed in
                                                                         24   accordance with paragraph 5(a) and 5(b) of this Order.
                                                                         25           5.   Action on Orders, Reports, or Recommendations
                                                                         26           Pursuant to Federal Rule of Civil Procedure 53(b)(2)(D) and
                                                                         27   subject to the restrictions set forth above, the procedures
                                                                         28   ///



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                                                                          1   described in paragraphs 5(a) and 5(b) herein shall govern any
                                                                          2   action on the Special Master's orders and R&Rs.
                                                                          3             a. Time Limits and Standard for Review
                                                                          4        Any party wishing to file objections to the Special Master's
                                                                          5   orders, reports and/or recommendations must file such objection
                                                                          6   with the Court within 10 days from the day the Special Master's
                                                                          7   order, report and/or recommendation is filed.         Any opposition
                                                                          8   thereto must be received within seven (7) days thereafter, and any
                                                                          9   reply must be received within four (4) days of the opposition.
                                                                         10   This expedited schedule will ensure the Court is able to keep any
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                                                                         11   trial date set.   Review of the Special Master's orders will be
                                                                         12   subject to the same procedures for orders by a Magistrate Judge and
                                                                         13   will be reviewed de novo for all matters, including procedural
                                                                         14   matters, unless the parties stipulate otherwise and the Court
                                                                         15   approves the stipulation.     See Civil L.R. 72-2; see also Fed. R.
                                                                         16   Civ. P. 53(f)(2)-(5); Show Cause Order.
                                                                         17             b. Filing the Record for Review
                                                                         18        The party filing the objection shall submit with such
                                                                         19   objection any record necessary for the Court to review the Special
                                                                         20   Master's order or R&R, including any transcripts of proceedings
                                                                         21   before the Special Master and any documents submitted by the
                                                                         22   parties in connection with the Special Master's order, report,
                                                                         23   and/or recommendation.     Failure to provide the record shall
                                                                         24   constitute grounds for the Court to overrule the objection or deny
                                                                         25   the motion.   However, insofar as the information has already been
                                                                         26   filed with the Court via ECF prior to the appointment of the
                                                                         27   Special Master or else is an R&R of the Special Master as published
                                                                         28   by the Court, the party may simply file any new materials presented



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                                                                          1   to the Special Master and include within their objection the ECF
                                                                          2   number of the earlier filed information and related declarations,
                                                                          3   responses, replies, and R&R(s), identified by ECF number.
                                                                          4        6.     Ex Parte Communications
                                                                          5        To facilitate the fulfillment of his duties under this Order,
                                                                          6   the Special Master may (and for R&Rs must always) communicate ex
                                                                          7   parte to the Court to the extent that he deems necessary and
                                                                          8   appropriate.   In addition, the Special Master may communicate ex
                                                                          9   parte with a party, but only for the limited purposes of
                                                                         10   administrative matters such as scheduling hearings, telephone calls
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                                                                         11   or briefing, if such arrangements cannot be made in a timely manner
                                                                         12   by contacting the Special Master's administrative assistant.
                                                                         13        7.     Compensation
                                                                         14        The Special Master's hourly fee shall be $600.00, and that of
                                                                         15   any law clerk he should employ shall be $200.00.         The Special
                                                                         16   Master shall, in his discretion, allocate and assess the payment of
                                                                         17   his fees among the parties, including allocation of all of his fees
                                                                         18   to one party should he determine that the party has acted in bad
                                                                         19   faith.    The parties shall pay the Special Master's fees within ten
                                                                         20   (10) calendar days of assessment, unless otherwise excused by the
                                                                         21   Special Master or the Court.
                                                                         22        8.     Diligence
                                                                         23        Pursuant to Federal Rule of Civil Procedure 53(b)(2), the
                                                                         24   Court hereby directs the Special Master to proceed with all
                                                                         25   reasonable diligence in performing these duties.
                                                                         26        9.     Notification to the Special Master of Mooted Motions
                                                                         27        In accordance with the Show Cause Order, parties shall notify
                                                                         28   the Special Master of any settlements reached and associated



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                                                                          1   motions thereby mooted otherwise pending before the Special Master
                                                                          2   within one (1) business day of reaching a settlement.          Notice shall
                                                                          3   be given in whatever manner deemed convenient by the Special
                                                                          4   Master, and shall be separate from any notice to or approvals
                                                                          5   otherwise required by the Court (whose procedures remain
                                                                          6   unchanged).
                                                                          7        Within seven (7) days of this order or according to such
                                                                          8   schedule as the Special Master may otherwise publish, all parties
                                                                          9   with pending designated pretrial matters shall contact the Special
                                                                         10   Master to discuss the execution of his duties in connection with
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                                                                         11   this order.
                                                                         12
                                                                         13        IT IS SO ORDERED.
                                                                         14
                                                                         15        Dated: September 11, 2015
                                                                         16                                        UNITED STATES DISTRICT JUDGE
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